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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

NATHSON E. FIELDS,                       )
                                         )
                   Plaintiff,            )
                                         )
            v.                           )   Case No. 10 C 1168
                                         )
CITY OF CHICAGO, et al.,                 )   Judge Matthew F. Kennelly
                                         )
                   Defendants.           )   Magistrate Judge Geraldine Soat Brown

  CITY DEFENDANTS’ JOINT MEMORANDUM OF LAW IN SUPPORT OF THEIR
                 MOTION FOR SUMMARY JUDGMENT




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                                I. BACKGROUND FACTS

       At or around 10:15 a.m. on April 28, 1984, a Saturday morning, Jerome “Fuddy” Smith

and Talman Hickman were shot and killed outside a public housing complex at 706 E. 39th

Street, in Chicago. (SOF, ¶8). Fuddy was the leader of a street gang known as the Goon Squad,

a faction of the Black Gangster Disciples. At the time of the shooting, there was an ongoing

gang rivalry between the Goon Squad and the El Rukns. (SOF, ¶9).

       Chicago Police Department (“CPD”) Detectives Steve Hood and Robert Evans were the

first detectives to arrive at the scene of the Smith/Hickman murders. (SOF, ¶10). Numerous

people were at the scene, and Detectives Hood and Evans attempted to talk to as many of them

as possible. (SOF, ¶12). Detectives Joseph Bogdalek and James Minogue reported for their shift

on the afternoon of April 28, 1984, and were assigned to the murder scene for followup

investigation. (SOF, ¶16). As part of their investigation, Bogdalek and Minogue talked to

Sandra Langston, who provided a description of two individuals she saw following murder

victim Fuddy Smith shortly before he was shot. (SOF, ¶17).

       Bogdalek and Minogue worked on the investigation of the Smith/Hickman murders for

three or four days, checking out a number of anonymous tips and talking to possible witnesses.

Their involvement in the investigation ended at that time because all of their leads were

exhausted.   (SOF, ¶18).    Detectives Evans and Hood stopped actively working on the

Smith/Hickman investigation sometime in May 1984, because they were not getting anywhere.

Hood did recall performing some investigation of an anonymous tip in early June 1984. (SOF,

¶19). During the 1984 investigation conducted by Detectives Hood, Evans, Bogdalek, and

Minogue, Nathson Fields’ name did not come up and they did not consider him a suspect at that

time. (SOF, ¶24).




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       In the early 1980’s, the federal government became interested in investigating the El

Rukns. (SOF, ¶180). The Justice Department development a regional task force known as the

Organized Crime Drug Task Force (“OCDTF”) made up of Assistant United States Attorneys

(“AUSAs”) and agents from various law enforcement agencies in the Northern District of

Illinois. (SOF, ¶181). One of the OCDTF assignments was to investigate the El Rukn street

gang for racketeering and drugs.      Chicago police officers were assigned to the OCDTF

investigation, along with members of the Cook County State’s Attorney’s Office (“SAO”) and

federal agents from the Bureau of Alcohol, Tobacco & Firearms (“ATF”). (SOF, ¶182).

       Based on information received from a federal wiretap, FBI agents raided an El Rukn safe

house in East Cleveland, Ohio on May 10, 1985. (SOF, ¶25). AUSA Patrick Deady sent Dan

Brannigan, a CPD Gang Crimes Specialist detailed to the ATF, to participate in the raid. (SOF,

¶26). During the raid, agents discovered five members of the El Rukn street gang staying at the

safe house and took them into custody. One of the El Rukn gang members was Anthony

Sumner. (SOF, ¶27). Brannigan interviewed Sumner and the other El Rukns, in the hope they

might become cooperating witnesses. (SOF, ¶28). Sumner eventually agreed to cooperate with

the authorities in the El Rukn investigation. (SOF, ¶29). Brannigan and Sumner then returned to

Chicago and went to the SAO offices. (SOF, ¶33).

       Over the next several days in mid-May 1985, Sumner was debriefed by members of the

CPD and SAO, as well as AUSA Deady. (SOF, ¶34). Sumner provided information about a

number of murders committed by himself and other members of the El Rukns. (SOF, ¶36). One

of the cases Sumner discussed was the Smith/Hickman murders. Sumner told authorities Earl

Hawkins was in charge of the hit team, and that on orders from El Rukn leader Jeff Fort, Fuddy

Smith was to be killed. (SOF, ¶42). Hawkins recruited three other El Rukns to participate in the




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hit team: Nathson Fields, George Carter, and Hank Andrews. Fields and Carter were to be the

shooters, and Hank Andrews would be the getaway driver. Hawkins would act as the spotter.

(SOF, ¶43). Sumner also told authorities he talked to Fields about the shooting of Fuddy Smith.

When Sumner said he heard Fields had something to do with it, Fields responded, “it was a good

exercise.” (SOF, ¶44). Sumner also told authorities in the mid-May 1985 debriefings that he,

Earl Hawkins, and Nathson Fields participated in the murders of Dee Eggars Vaughn and Joseph

White. (SOF, ¶¶ 45-46).

       Following the revelations by Anthony Sumner concerning the Smith/Hickman homicides,

Detective David O’Callaghan was assigned to the investigation. (SOF, ¶47). As part of his 1985

investigation into the Smith/Hickman murders, O’Callaghan interviewed witnesses Gerald

Morris, Randy Langston, and Eric Langston, among others. (SOF, ¶48). Those witnesses

viewed a lineup on May 18, 1985, that included Earl Hawkins.            The witnesses identified

Hawkins as an offender in the Smith/Hickman murders. (SOF, ¶¶ 51-52; 55).

       Nathson Fields was arrested on June 13, 1985. (SOF, ¶56). Fields denied involvement in

the Smith/Hickman and Vaughn/White murders.           (SOF, ¶57).    On June 17, 1985, Randy

Langston, Eric Langston, and Gerald Morris each separately viewed a lineup at Area 1, which

included Nathson Fields. All three witnesses identified Fields as one of the offenders involved in

the Smith/Hickman murders. (SOF, ¶58).

       The State eventually charged Nathson Fields, Earl Hawkins, and George Carter with the

Smith/Hickman murders. Hank Andrews had not been apprehended and remained at large when

the case went to trial. (SOF, ¶¶ 77-78). The State elected to prosecute the Smith/Hickman case

and use the Vaughn/White case in aggravation during the sentencing phase.            (SOF, ¶79).

William Swano was hired to represent Earl Hawkins. Jack Smeeton was hired to represent




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Fields. (SOF, ¶80). George Carter’s case was severed from that of Fields and Hawkins shortly

before trial. (SOF, ¶81).

       William Swano initially was recommending a jury trial, but he then began to suggest a

bench trial because he thought he could work out a deal with the trial judge, Judge Maloney.

(SOF, ¶84). Swano told the El Rukns he could bribe Judge Maloney to fix the case. El Rukn

leader Jeff Fort eventually gave approval for the bribe. (SOF, ¶¶ 85-87). On June 17, 1986, the

morning of the trial, Swano went to El Rukn headquarters to get the $10,000 bribe money.

(SOF, ¶87). On that same date, Fields and Hawkins waived their rights to a jury trial and for the

first time, advised Judge Maloney they were taking a bench trial. (SOF, ¶88). Before the end of

the trial, Judge Maloney returned the $10,000 in bribe money to Swano because he feared the

FBI was watching him. (SOF, ¶90).

       On June 26, 1986, Judge Maloney found Fields and Hawkins guilty of the murders.

(SOF, ¶95). During the sentencing phase, the State introduced evidence from Anthony Sumner,

in which he testified Hawkins and Fields were involved with him in the Vaughn/White double

murder. (SOF, ¶97). Judge Maloney sentenced Hawkins and Fields to death. (SOF, ¶100). In

1990, the Illinois Supreme Court affirmed Fields’ conviction and death sentence. (SOF, ¶111).

       In early 1987, Earl Hawkins reached out for Dan Brannigan to convey his possible

interest in cooperating with authorities. (SOF, ¶¶ 101-02). Hawkins provided information to the

federal authorities about the El Rukn attempt to bribe Judge Maloney, as well as other El Rukn

crimes. (SOF, ¶¶ 107-10). On June 26, 1991, a federal grand jury returned a four count

indictment against Judge Maloney and William Swano alleging, among other criminal acts, that

Swano gave the $10,000 bribe to Maloney to acquit Fields and Hawkins in the 1986 trial.




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Following a trial in which Hawkins testified, Judge Maloney was found guilty on all counts of

the indictment on April 16, 1993. (SOF, ¶¶ 110, 112).

       In late 1991, Anthony Sumner recanted his statement that Fields was involved in the

Vaughn/White homicides to AUSA William Hogan. (SOF, ¶115). Sumner also provided a

written statement to ASA Jack Hynes on January 3, 1992, in which he recanted his testimony

regarding the Vaughn/White murders. (SOF, ¶116). On January 10, 1992, the SAO provided

Fields’ criminal counsel with a copy of Sumner’s written statement to ASA Hynes. (SOF, ¶117).

       Fields filed a first amended post-conviction petition on September 8, 1992. The petition

argued in part that the circumstances of the attempted bribe of Judge Maloney resulted in the

deprivation of Fields’ due process rights. (SOF, ¶113). The petition also attached Sumner’s

January 3, 1992 written statement to ASA Hynes in which he recanted his statement that Fields

was involved in the Vaughn/White homicides. (SOF, ¶118). Judge Deborah Dooling entered an

order on September 18, 1996, granting Fields’ post-conviction petition and ordering a new trial.

Judge Dooling determined Fields was denied a fair trial because Judge Maloney had a “direct,

personal, substantial, pecuniary interest” in the outcome of Fields’ trial. Judge Dooling also

found that post-conviction relief would not be barred by Hawkins’ and Fields’ own participation

in the bribery scheme. (SOF, ¶114). On January 29, 1998, the Illinois Supreme Court affirmed

Judge Dooling’s ruling on the post-conviction petition. (SOF, ¶129).

       On remand, the matter was assigned to Judge Vincent M. Gaughan. (SOF, ¶130). Judge

Gaughan made pretrial rulings that were the subject of two appeals taken by the State. Fields’

retrial took place in the spring of 2009. (SOF, ¶132). Following a bench trial, Judge Gaughan

determined the State failed to prove Fields guilty beyond reasonable doubt, and found Fields not

guilty of the Smith/Hickman murders. (SOF, ¶138).




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                                 II. STANDARD OF REVIEW

       A court should grant summary judgment if “there is no genuine issue as to any material

fact and . . . the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c).

(See City Defendants’ Joint Motion for Summary Judgment, p. 2).

                                        III. DISCUSSION

       A.      All City Defendants are Entitled to Summary Judgment on Plaintiff’s §1983
               Claims Because His Due Process Claim Fails as a Matter of Law

       Count I of the TAC purports to assert a due process claim against all City Defendants.

Plaintiff alleges defendants withheld exculpatory materials from him in violation of his due

process rights. A plaintiff may bring a §1983 claim based on the denial of a fair trial where

material exculpatory or impeachment evidence has been withheld in violation of Brady v.

Maryland, 373 U.S. 83 (1963). Newsome v. McCabe, 256 F.3d 747, 752 (7th Cir. 2001)

(“Newsome I”). Where a state remedy for malicious prosecution exists, as it does in Illinois, a

plaintiff cannot sustain a denial of a fair trial claim absent a Brady violation. Newsome I, 256

F.3d at 750-51; see also Ienco v. City of Chicago, 286 F.3d 994, 998 (7th Cir. 2002). “Favorable

evidence is material, and constitutional error results from its suppression by the government, if

there is a ‘reasonable probability’ that, had the evidence been disclosed to the defense, the result

of the proceeding would have been different.” Kyles v. Whitley, 514 U.S. 419, 433-34 (1995).

       1.      Plaintiff Cannot Claim the Defendant Officers Denied Him of His Right to a Fair
               Trial Before Judge Maloney in 1986

       Plaintiff’s gang (the El Rukns), Williams Swano, and Judge Maloney undisputedly

corrupted Plaintiff’s 1986 trial. Nothing the Defendants Officers did or did not do played any

role in the corruption and resulting outcome of that trial. The reason Plaintiff was convicted was

because Judge Maloney got cold feet and returned the $10,000 bribe to the El Rukns through

Swano. People v. Hawkins, 181 Ill. 2d 41, 690 N.E.2d 999, 1004 (1998). Had Judge Maloney


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kept the El Rukns’ money and adhered to the plan, Fields and Hawkins would have been

acquitted. It is pure speculation to guess what the outcome of the trial would have been without

the bribe. As a result, it is impossible to say there is a reasonable probability the outcome of the

trial would have been different if the allegedly withheld evidence were disclosed. The Supreme

Court of Illinois already reached that very conclusion in this case when it upheld Judge

Dooling’s ruling awarding Plaintiff a new trial: “Having determined that due process was

lacking in the criminal proceedings, it is impossible for this court to know whether the verdict

would have been the same if rendered by an uncorrupted judge.” Id. at 1007. Plaintiff’s due

process claim against the City Defendants therefore necessarily fails.

       To establish a §1983 Brady claim, a plaintiff must show a reasonable probability that the

suppressed evidence would have produced a different verdict. Kyles, 514 U.S. at 433-34 (1995).

Plaintiff must show “by a preponderance of the evidence a causal link between the Brady

violation and his conviction.” Drumgold v. Callahan, 707 F.3d 28, 48 (1st Cir. 2013). As Judge

Dooling ruled, plaintiff was denied a fair trial because of Judge Maloney’s “direct, personal,

substantial, pecuniary interest” in the outcome of plaintiff’s trial. (SOF, ¶114). Judge Dooling

also found Plaintiff was entitled to post-conviction relief regardless of his own participation in

the El Rukn bribery scheme. (Id.) The Illinois Supreme Court affirmed Judge Dooling’s ruling

and ordered a new trial based on the corruption. People v. Hawkins, 690 N.E.2d at 1007.

       There is no question of fact for a jury to decide in this case. It was already found by

Judge Dooling and the Illinois Supreme Court that plaintiff’s 1986 trial was unfair due to the El

Rukns’ bribe of the judge.      The Supreme Court of Illinois also already determined it is

impossible to know whether the verdict would have been the same if rendered by an uncorrupted

judge. Id. at 1007. Because it is impossible to say what the outcome of the trial would have




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been absent the bribe, it is similarly impossible for a trier of fact in this case to find there is a

reasonable probability the outcome of that trial would have been different absent the alleged

Brady violation. As the Supreme Court held, this trial was “fatally flawed” due to the El Rukns’

bribe. Id. The bribe was an intervening, superseding event that severed any causal link between

the alleged suppression of evidence and the trial result. As Judge Dooling observed, Judge

Maloney’s decision was not based on the evidence, but on his own self-interest.

       2.      A Brady Claim Based On Plaintiff’s Second Trial Cannot Succeed Because He
               Was Acquitted

       Any Brady claim based upon the 2009 trial and the prosecution leading up to that trial

also fails. Following the bench trial, on April 8, 2009, Judge Gaughan found that the State failed

to prove plaintiff guilty beyond a reasonable doubt. (SOF, ¶138). The absence of a conviction

forecloses plaintiff’s due process claim based on a Brady violation. As the Seventh Circuit

stated in Carvajal, “we are doubtful . . . that an acquitted defendant can ever establish the

requisite prejudice for a Brady violation.” Carvajal v. Dominguez, 542 F.3d 561, 570 (7th Cir.

2008); see also Bielanski v. County of Kane, 550 F.3d 632, 645 (7th Cir. 2008); Morgan v. Gertz,

166 F.3d 1307 (10th Cir. 1999) (because Brady is grounded on the due process right to a fair

trial, a criminal defendant who was acquitted cannot be said to have been denied a fair trial.);

Flores v. Satz, 137 F.3d 1275, 1278 (11th Cir. 1998); McCune v. City of Grand Rapids, 842 F.2d

903, 907 (6th Cir. 1988). The Carvajal court explained that “[t]he question is whether the

favorable evidence could reasonably be taken to put the whole case in such a different light as to

undermine confidence in the verdict.” Id., citing Strickler v. Greene, 527 U.S. 263, 289 (1999).

Because the verdict at plaintiff’s trial was a “not guilty,” Plaintiff cannot plausibly argue that the

evidence, if disclosed, would undermine confidence in the verdict. Plaintiff is therefore barred

from claiming he was denied his right to a fair trial.



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       To the extent plaintiff argues that had he learned of the alleged suppressed information

earlier, the proceedings against him would have concluded earlier, his §1983 Brady claim still

fails. At the outset, the Supreme Court rejects the notion that there is a Fourteenth Amendment

claim to be free from prosecution without probable cause. Albright v. Oliver, 510 U.S. 266, 275

(1994). §1983 provides a remedy for 14th Amendment due process violations when connected

to certain fair trial-related rights. See Ienco, 286 F.3d at 997-98; Newsome I, 256 F.3d at 752.

       Though a §1983 Brady claim has not been formally recognized in this Circuit for an

acquitted defendant, the Seventh Circuit has discussed in dicta whether such a cause of action

would be available where "the decision to go to trial would have been altered by the desired

disclosure." Carvajal, 542 F.3d at 569; see also Bielanski, 550 F.3d at 645; Parish v. City of

Chicago, 594 F.3d 551, 554 (7th Cir. 2010). As the Seventh Circuit explained, assuming

arguendo such a cause of action existed, the plaintiff “must show that if all parties had known of

some piece of exculpatory evidence, the prosecution would not have moved forward with

charges, the grand jury would not have indicted [the plaintiff], or the trial court would have

granted a motion to dismiss the indictment.” Mosley v. City of Chicago, 614 F.3d 391, 397 (7th

Cir. 2010). Plaintiff cannot make that showing here.

       Much of the discovery in this case has focused on the Subject File. There is no evidence

in the record to show that any of the evidence allegedly suppressed in the Subject File, if

disclosed earlier, would have changed the Cook County State’s Attorney’s decision to prosecute

Plaintiff. In fact, the evidence is to the contrary as the prosecutor who tried Plaintiff in 2009 has

confirmed the prosecution would have proceeded regardless of the Subject File. (SOF, ¶¶ 165-

67). Consistent with that position, the State has opposed and is currently actively litigating

against Plaintiff’s petition for a Certificate of Innocence. (SOF, ¶¶ 143-45).




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       A review of the Subject File shows why it would not have changed the prosecutor’s

decision to proceed to trial. The eyewitnesses mentioned in the Subject File (such as James

Langston, Carlos Willis, Randy Langston, Minnie White) were known to the defense attorneys at

the time, and some of them were called to testify by Swano in 1986. (SOF, ¶151). There is

nothing in the Subject File impeaching of any of the State’s witnesses. The Subject File does not

contain anything inconsistent with the sworn testimony of several witnesses that Nathson Fields

was one of the two shooters. There are at least six former El Rukns who testified plaintiff was

one of the shooters, including one of the El Rukns (Hawkins) who was present for these murders.

(SOF, ¶128). In short, there is nothing in the Subject File that would have caused the State to

dismiss the charges against Fields. (SOF, ¶¶ 166-67). Indeed, there is no material, exculpatory

information in the file that would meet all of the elements of Brady.

       Plaintiff has likewise failed to show how any of the other evidence suggested in

plaintiff’s Brady claim would have changed the prosecutors’ decision. Again, the opposite is

true, as the State was aware of all the other allegedly suppressed evidence (such as the recants of

Randy Langston and Gerald Morris, the photo array, the line-up, and Sumner’s Vaughn/White

recant) and chose to prosecute plaintiff in 2009 anyway.

       3.      There is No Evidence the Individual Defendants Deliberately Withheld the Subject
               File

       In the criminal context, Brady applies whether the suppression of evidence is willful or

inadvertent. Strickler, 527 U.S. at 281-82. The law is different in the context of a §1983 civil

claim. See Newsome v. McCabe, 260 F.3d 824 (7th Cir. 2001) (per curiam on petition for

rehearing) (“Newsome II”); see also Lyons v. Village of Woodridge, 2011 WL 2292299 (N.D. Ill.

2011). As Judge Guzman discussed in Lyons, three other Circuits have held that a higher level

of culpability than inadvertence is required. Porter v. White, 483 F.3d 1294, 1311 (11th Cir.



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2007) (§1983 Brady claim requires reckless suppression); Villasana v. Wilhoit, 368 F.3d 976,

980 (8th Cir. 2004) (§1983 claim requires police officer’s bad faith suppression); Jean v. Collins,

221 F. 3d 656, 660-61 (4th Cir. 2000) (divided en banc court stating §1983 claim requires police

officers’ bad faith suppression).    Citing Jean, the Seventh Circuit stated that “police who

deliberately withhold exculpatory evidence, and thus prevent the prosecutors from complying

with the obligations articulated in Brady, violate the due process clause.” Newsome II, 260 F.3d

at 824 (emphasis added). The Supreme Court has held, though not within the Brady context, that

mere negligence is insufficient to support a Fourteenth Amendment due process claim. Daniels

v. Williams, 474 U.S. 327, 332 (1986). As the Seventh Circuit explained, “police need not

spontaneously reveal to prosecutors every tidbit that with the benefit of hindsight (and the

context of other evidence) could be said to assist defendants.” Newsome II, 260 F.3d at 824. See

also Kunz v. City of Chicago, 234 F.Supp.2d 820, 824 (N.D. Ill. 2002).

       Here, plaintiff has failed to establish the Defendant Officers had any role in withholding

the Subject File. Detectives Hood, Evans, Minogue, and Bogdalek, who were involved in the

initial investigation in 1984, placed their work product in the file, which is why it still exists

today. (SOF, ¶¶ 21; 152). Gang Specialists Brannigan, Kolovitz, Casto and Richardson did not

generate any of the documents in the Subject File and there is no evidence they ever had it or

were asked to produce it. The same applies to Detectives Kobel, Robertson, O’Callaghan, and

Sgt. Murphy, with the exception that Sgt. Murphy’s signature appears on one document in the

Subject File (a Request for Identification Photos Bates-stamped CITY-NF-001038).            (SOF,

¶155). Assuming, arguendo, Plaintiff did not receive that form, it was of no assistance to

Plaintiff as “exculpatory” of anything.    In short, there is no evidence any of the Defendant

Officers deliberately or recklessly failed to produce the Subject File. And since the evidence is




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that they had no role in responding to criminal subpoenas (SOF, ¶¶ 162-64), Plaintiff does not

even have evidence the Defendant Officers inadvertently failed to produce the Subject File. All

of the City Defendants are entitled to summary judgment on plaintiff’s Brady claim to the extent

it relies on the alleged non-production of the Subject File.

                                                   ***

       Each City Defendant is entitled to summary judgment on alternative grounds. “Section

1983 creates a cause of action based on personal liability and predicated upon fault; thus, liability

does not attach unless the individual defendant caused or participated in a constitutional

deprivation.” Vance v. Peters, 97 F.3d 987, 991 (7th Cir. 1996); see also Grieveson v. Anderson,

538 F.3d 763, 776 (7th Cir. 2008) (“A plaintiff bringing a civil rights action must prove that the

defendant personally participated in or caused the unconstitutional actions.”). Plaintiff has failed

to develop evidence showing that any City Defendant individually caused or participated in the

deprivation of his rights under Brady. To the extent the due process claim is based on coercion

of witnesses or fabrication of evidence, Plaintiff likewise has not presented sufficient evidence to

establish any City Defendant caused or participated in such alleged misconduct.

       B.      Defendants Minogue, Bogdalek, Evans, and Hood Are Entitled to Summary
               Judgment on Plaintiff’s Due Process Claim

       The TAC asserts a due process claim against Defendants Minogue, Bogdalek, Evans, and

Hood alleging they suppressed exculpatory evidence pertaining to the Smith/Hickman and

Vaughn/White homicide investigations. Plaintiff has developed no evidence to support any of

these allegations against Minogue, Bogdalek, Evans, or Hood.

       Plaintiff has failed to present any evidence Minogue, Bogdalek, Evans, or Hood

suppressed reports of witness interviews conducted during their initial investigation of the

Smith/Hickman homicides in May-June 1984. As to Minogue and Bogdalek, they were assigned



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to the murder scene for follow-up investigation. They initially canvassed the area, and for the

next three or four days, checked out anonymous tips and talked to possible witnesses. (SOF, ¶¶

16, 18). Their involvement in the Smith/Hickman investigation ended at that time because all

their leads were exhausted. (SOF, ¶18). Minogue, Bogdalek, Evans, and Hood generated notes

and reports as part of their investigation, which were turned in by placing them in a basket on the

sergeant’s desk. (SOF, ¶21). Minogue, Bogdalek, Evans, and Hood each testified he did not

withhold or destroy any notes pertaining to the Smith/Hickman homicide investigation. (SOF,

¶152). Plaintiff has not produced any evidence to the contrary. (See Section III(A)(3), supra).

       Plaintiff also has contended Bogdalek (and others) withheld information obtained from

an interview of Sandra Langston. According to Plaintiff, Sandra provided a description of the

suspects, which Bogdalek knew did not match Nathson Fields. (See Exhibit 48, ¶1a). The actual

evidence refutes this contention. Sandra’s description of the two suspects is contained in a

Supplementary Report dated April 30, 1984, prepared by Bogdalek and Minogue. (SOF, ¶17).

Plaintiff cannot in good faith contend this Supplementary Report was withheld from him. One of

the bases Plaintiff asserted for post-conviction relief was that his defense counsel was ineffective

for failing to pursue the investigation of Sandra based on her descriptions set forth in police

reports. (See Exhibit 20, Plaintiff’s First Amended Petition for Post-Conviction Relief, at ¶20).

Plaintiff thus knew of Sandra’s description of the suspects prior to his trial, and he obviously

knew whether or not he matched that description.                Plaintiff cannot establish any officer

committed a Brady violation concerning Sandra Langston’s description of the suspect, because

Plaintiff had that information at the time of his 1986 trial.

       Plaintiff similarly has failed to present any evidence Evans or Hood suppressed reports of

witness interviews conducted during their initial investigation of the Smith/Hickman homicides




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in May-June 1984.       According to Plaintiff, Evans testified he and Hood “interviewed

approximately one hundred people” during the course of their investigation, but neither Plaintiff

nor his counsel received copies of their notes or reports. (See Exhibit 50, ¶1a; Exhibit 51, ¶1a).

Plaintiff concludes Evans either lied under oath, or Evans and Hood suppressed those

documents. (Id.) Plaintiff’s “interpretation” of Evans’ testimony is misleading and his resulting

conclusion is pure speculation, which is insufficient to support a Brady claim. Evans never

testified he and Hood “interviewed” one hundred people. More accurately, Evans stated he and

Hood canvassed these scene and talked to approximately a hundred people, but that most would

not even give him their names. (SOF, ¶¶ 12, 14). Nor is there evidence Evans and/or Hood

prepared notes of interviews of a hundred or so individuals. Since there is no evidence Evans

and Hood prepared documents reflecting interviews of one hundred people, there is no basis to

conclude Evans either lied under oath or suppressed those documents. Moreover, it is pure

speculation to conclude those documents, if they existed, would be exculpatory to Plaintiff.

Mere speculation cannot be the basis of a Brady claim. See United States v. Roberts, 534 F.3d

560, 572 (7th Cir. 2008) (“defendant must provide some evidence other than mere speculation or

conjecture that evidence was exculpatory and suppressed by the Government”); United States v.

Parks, 100 F.3d 1300, 1307 (7th Cir. 1996) (“speculation is not enough to establish that the

Government has hidden evidence”).

       Plaintiff similarly has failed to present any evidence to support his allegation that Evans,

Minogue, and Bogdalek suppressed materials relating to the Vaughn/White investigation. These

detectives did not have any role in the Vaughn/White murder investigation. (SOF, ¶76).

       As to all defendants, Plaintiff alleges generally they failed to “come forward” with

information they learned in January 1992 that Sumner admitted to falsely implicating Plaintiff in




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the Vaughn/White murders.           (TAC, ¶51).       Plaintiff’s TAC and answers to contention

interrogatories do not disclose any other basis for his claim that information pertaining to the

Vaughn/White investigation was suppressed. It is extremely disingenuous for Plaintiff to assert a

Brady claim against any Defendant Officer based on the Sumner recant regarding Fields’

involvement in the Vaughn/White murders. The duty to disclose under Brady extends to police

officers and requires them to turn over to prosecutors exculpatory evidence, thereby triggering

the prosecutor’s disclosure obligations.       Carvajal, 542 F.3d at 566.         Sumner recanted his

accusation directly to the federal prosecutor (Hogan) in December 1991, and shortly thereafter

provided the State prosecutor (Hynes) with a statement acknowledging his false incrimination of

Fields in the Vaughn/White murders on January 3, 1992.                (SOF, ¶¶ 115-16).       Assuming,

arguendo, the defendant officers learned of Sumner’s admission in January 1992 as alleged,

there cannot be a Brady violation for their alleged failure to disclose that information to the

prosecution, because the prosecutors already had that information.

        Making this particular Brady allegation even more improper, Plaintiff himself knew in

1992 of Sumner’s recantation.        The SAO sent Fields’ criminal defense counsel a copy of

Sumner’s written statement to Hynes in January 1992. (SOF, ¶117). Plaintiff clearly received it

as he filed a post-conviction petition in September 1992 attaching Sumner’s written statement to

ASA Hynes as an exhibit. (See Exhibit 20). Plaintiff’s knowledge and use of the Sumner

admission establish the evidence was not “suppressed” from him for purposes of Brady.

Plaintiff’s attempt to assert a Brady claim arising from Anthony Sumner’s recantation utterly

lacks a good faith basis, and all City Defendants are entitled to summary judgment on this aspect

of the due process claim.1

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          This same conclusion is warranted for all City Defendants, but in the interests of brevity, this
discussion will not be restated in the remaining sections of the Memorandum.


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       The due process claim in the TAC does not set forth any specific allegations against

Minogue, Bogdalek, Hood, or Evans based on coercion of witnesses or fabrication of evidence.

Plaintiff’s answers to interrogatories do not provide any further accusations in that regard. (See

Exhibits 48, 49, 50, 51). Discovery has revealed no evidence demonstrating Minogue, Bogdalek,

Hood, or Evans threatened or coerced any witnesses. There is no evidence Minogue, Bogdalek,

Hood, or Evans fabricated any evidence implicating Fields in the Smith/Hickman murders.

Defendants Minogue, Bogdalek, Hood, and Evans are entitled to summary judgment on count I

of the TAC.

       C.      Defendant Brannigan is Entitled to Summary Judgment on Plaintiff’s Due
               Process Claim

       The TAC asserts a due process claim against Defendant Brannigan based in part on his

alleged suppression of exculpatory evidence from the Smith/Hickman homicide investigation.

However, Plaintiff has presented no evidence to support this claim against Brannigan.

       Plaintiff does not allege and the evidence does not show Brannigan had any involvement

in the initial 1984 CPD investigation of the Smith/Hickman murders. (SOF, ¶22). Brannigan

was a Gang Crimes Specialist detailed to the ATF and not a homicide detective. The only act

that connects Brannigan to the Smith/Hickman investigation was his recruitment of Anthony

Sumner to cooperate with authorities. (SOF, ¶¶ 26-28). It was Sumner who provided the initial

information linking Fields to the Smith/Hickman murders. Brannigan’s recruitment of Sumner

was related to his work for the Task Force investigating the El Rukn street gang, and not as part

of the Smith/Hickman murder investigation.

       There is no evidence to support the claim that repeated requests were made to Brannigan

for materials pertaining to the Smith/Hickman homicide and that he failed to provide that

information to Plaintiff. Plaintiff similarly lacks evidence linking Brannigan to the Subject File.



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(See Section III(A)(3), supra). Brannigan’s testimony that he never saw the subject file prior to

this civil lawsuit (SOF, ¶157) is unrebutted.

       Plaintiff’s due process claim also alleges Brannigan improperly coerced government

witnesses Anthony Sumner and Earl Hawkins. Plaintiff specifically contends Brannigan coerced

Sumner to falsely implicate Plaintiff in the Smith/Hickman and Vaughn/White murders.

Plaintiff also alleges Brannigan, along with ASA Kelley, “cut a deal” with Hawkins to obtain

perjured testimony at Fields’ retrial.

       Plaintiff is unable to present any admissible evidence that Brannigan improperly coerced

Sumner to falsely implicate Nathson Fields in the Smith/Hickman murders. Following the raid

of the El Rukn safe house in East Cleveland, Sumner told Brannigan he would cooperate with

authorities regarding El Rukn activities. (SOF, ¶29). Brannigan has testified he never beat

Sumner nor threatened him in order to obtain his agreement to cooperate (SOF, ¶30), and there is

no admissible evidence to the contrary. Although Sumner provided statements to El Rukn

attorneys Chuck Murphy and William Swano suggesting police officers beat and threatened him

unless he cooperated, Plaintiff cannot properly rely on those statements to create a genuine issue

of material fact on the issue of coercion. The statements to Murphy and Swano are out of court

statements being offered to prove the truth of the matter asserted, and thus constitute

inadmissible hearsay.    Fed. R. Evid. 801(c).       Moreover, Sumner testified in court that his

statements to Murphy and Swano about Brannigan were untrue. (SOF, ¶32). According to

Sumner, he had been instructed by the El Rukn hierarchy to “make something up” to explain his

cooperation with authorities.     (SOF, ¶31).    Sumner has never recanted that aspect of his

testimony.   There is no admissible evidence presented by Plaintiff establishing Brannigan




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coerced Sumner or any other witness to falsely implicate Fields in the Smith/Hickman or

Vaughn/White murders.

       In an allegation that appears to be directed more to the SAO defendants, Plaintiff asserts

ASA Kelley, with Brannigan’s participation, “cut a deal” with Hawkins to obtain his cooperation

and testimony at Plaintiff’s retrial. (See TAC, ¶57). In and of itself, that allegation does not

suggest a constitutional tort. A plea agreement is not coercion of a witness.

       Plaintiff has further asserted the SAO entered into an agreement with Hawkins in which

Hawkins agreed to give false testimony against Plaintiff at the retrial. (Id.) That allegation does

not appear to be directed against Brannigan, and in any event, Plaintiff has presented no evidence

of an agreement between the State and Hawkins wherein Hawkins agreed to give false

testimony. There is no evidence to support the assertion Brannigan (or anyone else) “knew”

Hawkins’ testimony at the 2009 retrial would be false. To the contrary, Hawkins by that time

had testified multiple times in several federal trials about the details of the Smith/Hickman

murders, and he consistently testified Fields was involved. (SOF, ¶¶ 108-09). In addition,

multiple El Rukn cooperating witnesses had by that time corroborated Hawkins’ testimony

regarding Fields’ involvement in those crimes. (SOF, ¶128). State and federal prosecutors, and

the CPD (including Brannigan), therefore had every reason to believe Hawkins’ testimony at the

2009 retrial was truthful.

       Finally, Plaintiff has failed to present any evidence Brannigan was “directly involved in

the subornation of perjury” from Hawkins. (Exhibit 52, ¶1d). There is no evidence to establish

Hawkins perjured himself regarding Plaintiff’s involvement in the Smith/Hickman murders.

Hawkins has consistently testified Fields was involved in those murders, and he never recanted

that testimony. He has never testified he committed perjury regarding Smith/Hickman or that




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Brannigan induced him to commit perjury. Plaintiff therefore lacks a good faith basis to assert

Brannigan suborned perjury from Hawkins.

       Plaintiff has failed to present sufficient evidence of a due process violation by Brannigan,

whether based on the alleged suppression of evidence, improper coercion of a witnesses, or

fabrication of evidence. Brannigan is entitled to summary judgment on count I of the TAC.

       D.     Defendant Kolovitz is Entitled to Summary Judgment on Plaintiff’s Due
              Process Claim

       A good faith basis for Plaintiff’s inclusion of Defendant Kolovitz as a party in this case

remains a mystery. The TAC lacks any specific allegation of misconduct against Kolovitz,

vaguely alleging “on information and belief” he suppressed exculpatory evidence and/or

fabricated evidence linking Plaintiff to the Smith/Hickman murders. Plaintiff has presented no

evidence that Kolovitz suppressed any evidence of an exculpatory nature or fabricated any

evidence implicating Plaintiff in the Smith/Hickman murders. Kolovitz is entitled to summary

judgment on Plaintiff’s due process claim.

       Like Brannigan, Kolovitz was a Gang Crimes Specialist detailed to the ATF. Plaintiff

does not allege Kolovitz had any involvement in the initial 1984 CPD investigation of the

Smith/Hickman murders, and the evidence does not show otherwise. (SOF, ¶22). Although

Kolovitz may have been consulted by detectives investigating the Smith/Hickman murders, he

was not a homicide detective and did not investigate that crime. (SOF, ¶67). There is no

evidence linking Kolovitz to the Subject File Plaintiff claims was withheld from him. (See

Section III(A)(3), supra). In sum, there is no evidence to support the bald allegations Kolovitz

suppressed any notes or information pertaining to the Smith/Hickman homicide.

       In answer to contention interrogatories, Plaintiff stated he expected to show Kolovitz was

involved in the Smith/Hickman and Vaughn/White murder investigations, and suppressed



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documentation related to those crimes. (Exhibit 53, ¶¶1a, 1b). Kolovitz had no investigative

responsibilities for the Smith/Hickman murders. The same is true of the Vaughn/White murder

investigation.    More to the point, Plaintiff has not presented any evidence Kolovitz was

personally involved in any suppression of any documentation, exculpatory or otherwise, related

to either investigation. Any such conclusion would be pure speculation.

       Nor is there evidence to support the allegation Kolovitz fabricated evidence implicating

Plaintiff in the Smith/Hickman murders. (TAC, ¶9n). Not only did Plaintiff’s answers to

contention interrogatories provide no clarification on this vague allegation, they appear to have

abandoned the fabrication claim against Kolovitz.        (Exhibit 53, ¶¶1a, 1b).    Plaintiff has

abandoned this claim by not identifying any specific act of fabrication by Kolovitz or pursuing it

in discovery. Kolovitz is entitled to summary judgment on Plaintiff’s due process claim.

       E.        Defendant Murphy is Entitled to Summary Judgment on Plaintiff’s Due
                 Process Claim

       The TAC asserts a due process claim against Defendant Murphy based in part on his

alleged suppression of exculpatory evidence pertaining to the Smith/Hickman murders. Plaintiff

has presented no evidence to support this claim against Murphy.

       Certainly, Commander Murphy participated in an important witness interview leading to

resolution of the Smith/Hickman homicide investigation when he debriefed Anthony Sumner in

mid-May 1985 following Sumner’s agreement to cooperate with authorities.              Information

provided by Sumner reignited the investigations of Smith/Hickman and several other El Rukn

homicide cases. At the time of the Sumner interviews, Murphy was detailed to the SAO. (SOF,

¶37). With respect to information Sumner provided about homicides, Murphy directed his

original interview notes to the CPD file, with copies of the notes to the SAO and the United

States Attorney’s Office. (SOF, ¶¶ 39-40). By providing his notes of the Sumner interviews to



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prosecutors, Murphy complied with his obligations under Brady. See Carvajal, supra; Harris v.

Kuba, 486 F.3d 1010, 1014 (7th Cir. 2007) (Brady obligates police officers to turn over

potentially exculpatory evidence to the prosecution).

       It is unclear if Plaintiff is claiming he did not receive the interview notes reflecting

Sumner’s implication of Fields in the Smith/Hickman murders. The interview notes, which

memorialize the information Sumner ultimately provided at trial (i.e., Fields was one of the

shooters), are incriminating of Fields, not exculpatory to him. And for purposes of Brady,

Plaintiff has not identified anything from the interview he did not know.

       In the TAC and in answers to contention interrogatories, Plaintiff refers to an incident in

which Murphy allegedly “interfered” with an investigation being conducted by “criminal defense

counsel” William Swano and Swano’s investigator. (Exhibit 54, ¶¶1c). The incident took place

on July 22, 1985, after Murphy received a telephone call from a witness, Gerald Morris, advising

him that Randy Langston had just gone to the scene of the crime with a prosecutor and a

detective.   Murphy went to the scene where he saw Randy talking with Swano, Swano’s

investigator, and a woman. (SOF, ¶63). Randy told Murphy that Swano had identified himself

as an Assistant State’s Attorney and the other man as a detective.2 When Murphy told Randy

that Swano was an attorney representing the El Rukns, Randy stated that he did not want to talk

to Swano. (SOF, ¶¶ 64-65).

       Plaintiff has disclosed no evidence demonstrating how Murphy’s alleged “interference”

with Swano violated his constitutional rights. The information obtained by Swano from the

Randy Langston interview was used at the 1986 trial. Swano’s investigator, Robert Beseth,

testified for the defense about his interview with Randy Langston on July 22, 1985, in which

       2
        The investigator, Robert Beseth, has denied he and Swano misrepresented themselves as an
ASA and police officer. It is unnecessary to resolve this factual dispute for purposes of this issue.



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Randy supposedly told him he wasn’t sure he could make a positive identification of the

offenders. People v. Fields, 135 Ill. 2d 18, 36, 552 N.E.2d 791 (1990). Moreover, the fact of the

incident itself was not suppressed and was known to the defense. Murphy testified about the

details of the incident in rebuttal at the 1986 trial. (Id.) There is no evidence to support a

constitutional violation based on the incident involving Murphy and Swano.

       There is no contention or evidence to support a claim that Murphy improperly coerced

any witness to falsely implicate Plaintiff. Murphy never made any promises to Anthony Sumner

to gain his cooperation. (SOF, ¶38). There is no other testimony in this case by any witness that

Murphy coerced him or her to falsely implicate Fields in the Smith/Hickman murders. The due

process claim in the TAC includes an allegation that Murphy participated in “cutting a deal” with

Earl Hawkins. (See TAC, ¶57). Plaintiff appears to have abandoned this claim against Murphy,

as Plaintiff’s answers to contention interrogatories do not even reference this assertion. (See

Exhibit 54). In any event, the mere allegation that Murphy assisted prosecutors in obtaining a

plea agreement with Hawkins does not in and of itself suggest a constitutional impropriety.

There is no evidence of any misconduct by Murphy related to the plea agreements with Hawkins.

Murphy’s testimony that he couldn’t make any promises to Hawkins regarding his willingness to

cooperate is unrebutted.

       There is no evidence Murphy suppressed exculpatory evidence, coerced witnesses or

fabricated any evidence to falsely implicate Nathson Fields in the Smith/Hickman murders.

Murphy is entitled to summary judgment on Plaintiff’s due process claim in count I.

       F.      Defendant O’Callaghan is Entitled to Summary Judgment on Plaintiff’s Due
               Process Claim

       The TAC asserts a due process claim against Defendant O’Callaghan based in part on his

alleged suppression of exculpatory evidence, but there is no evidence to support it. Like he did



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with Defendant Evans, Plaintiff significantly mischaracterizes O’Callaghan’s 1986 trial

testimony in an effort to manufacture a due process claim. According to Plaintiff, O’Callaghan

testified that he “interviewed hundreds of people” during the course of his investigation of the

Smith/Hickman murders, but neither Plaintiff nor his counsel received copies of his notes or

reports of those interviews. (See Exhibit 55, ¶1a). Plaintiff concludes O’Callaghan either lied

under oath or he withheld or destroyed those documents. (Id.)

       Plaintiff’s “interpretation” of O’Callaghan’s testimony is misleading. O’Callaghan never

testified he “interviewed hundreds of people.” What he actually said at the trial, in response to a

question about witness Gerald Morris on cross-examination, was that he learned of Morris as

part of a re-canvass: “We talked to hundreds of people during the investigation, and he was one

of the subjects we ran into.” (SOF, ¶50). To interpret that testimony as suggesting O’Callaghan

“interviewed” hundreds of people and prepared notes pertaining to each one is unfair argument

and unsupportable speculation.         Compounding that misinterpretation by “concluding”

O’Callaghan either lied under oath or suppressed or destroyed documents is wholly

inappropriate. Finally, there is no basis to conclude those documents, if they existed, would be

exculpatory to Plaintiff. Such unbridled speculation cannot be the basis of a Brady claim. See

United States v. Roberts, supra; United States v. Parks, supra.

       Plaintiff similarly offers only speculation that O’Callaghan suppressed the Subject File.

(See Section III(A), supra).    O’Callaghan affirmatively denied withholding anything of an

exculpatory nature regarding the Smith/Hickman homicide investigation (SOF, ¶153), and

Plaintiff has presented no evidence to the contrary.

       Plaintiff’s due process claim against O’Callaghan also alleges he coerced witnesses to

implicate Fields in the Smith/Hickman murders.          In answers to interrogatories, Plaintiff




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complains about an unduly suggestive police line-up in which Fields was the only participant

wearing a short-sleeve shirt. (Exhibit 55, ¶1b). Plaintiff seems to have abandoned this claim,

however. Plaintiff has disclosed no evidence, through expert reports or otherwise, to support a

conclusion that the line-up was unduly suggestive for this reason.

        Plaintiff also contends O’Callaghan lifted Fields’ sleeve during the line-up procedure to

expose an El Rukn gang tattoo to witnesses who were from a rival gang. (Id.) There is no

competent evidence reflecting that O’Callaghan exposed the tattoo to any witnesses while they

were viewing the line-up. O’Callaghan lifted the sleeve to allow an evidence technician to take a

photograph of the tattoo after the witnesses viewed the line-up. (SOF, ¶¶ 59-62). There is no

testimony from any of the police officers or witnesses present at the line-up that O’Callaghan

lifted up Fields’ sleeve to reveal the El Rukn tattoo while the witnesses were viewing the line-up.

Fields himself cannot say whether any of the witnesses were viewing the line-up when

O’Callaghan lifted his sleeve.         (SOF, ¶62).        In sum, the evidence does not establish an

improperly suggestive identification caused by O’Callaghan revealing Fields’ El Rukn tattoo to

witnesses viewing the line-up.3

        Next, Plaintiff asserts Randy Langston, Eric Langston, and Gerald Morris were

improperly coerced by O’Callaghan. Plaintiff has not disclosed any evidence of coercion from

either of the Langstons that is admissible against O’Callaghan. For example, Plaintiff has

alleged Randy Langston recanted his trial testimony at the 1986 death penalty hearing, claiming

he identified Fields and Hawkins because O’Callaghan told him to and he was afraid of

O’Callaghan. (SOF, ¶99). However, Randy’s testimony from the death penalty hearing is

        3
          Since there is no evidence of a violation of Fields’ constitutional rights occurring at the line-up,
there can be no basis for a claim against any other defendant officers present at the line-up for failure to
intervene. Absent an underlying constitutional violation, there can be no claim for failure to intervene.
Harper, 400 F.3d at 1064.



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inadmissible as against O’Callaghan in this civil proceeding and does not meet the “former

testimony” exception to the hearsay rule. Under Rule 804(b)(1), once a declarant has been

deemed unavailable, his former testimony may be admitted into evidence as long as the party

against whom the testimony is being offered, or a predecessor in interest, had an opportunity and

a similar motive to develop the testimony by direct or cross-examination.                 Fed. R. Evid.

804(b)(1); see also United States v. Reed, 227 F.3d 763, 767 (7th Cir. 2000). For starters, there is

no evidence Randy Langston is “unavailable” at this time.                 But even if he is deemed

“unavailable,” O’Callaghan did not have the opportunity to develop Randy’s testimony about

him at the death penalty hearing through cross-examination.               The prosecutors cannot be

considered predecessors in interest to O’Callaghan.          See Hill v. City of Chicago, 2011 WL

3876915, *2-4 (N.D. Ill. 2011) (Defendant officers in civil litigation were not parties to criminal

proceedings, and prosecutors did not have a similar motive as the defendant officers to develop

the witness’s testimony for purposes of Rule 804(b)(1)). Randy’s testimony at the death penalty

hearing is inadmissible hearsay as against O’Callaghan.4 Randy’s 1999 affidavit provided to

Fields’ criminal defense counsel does not change the analysis. It simply states his testimony at

the “sentencing hearing” was “the truth” (SOF, ¶124), and does not independently constitute

admissible evidence that Randy was coerced by O’Callaghan.5                O’Callaghan is entitled to

summary judgment on this aspect of Plaintiff’s due process claim.


        4
          The same analysis applies to James Langston’s testimony at the death sentencing phase, which
is inadmissible as against O’Callaghan.
        5
         Perhaps most significantly, Randy presumably will be available for the upcoming trial, and his
testimony is not expected to assist Plaintiff’s case. Randy subsequently recanted his testimony against
O’Callaghan from the death penalty hearing. In the 2009 trial (and again in the recent 2013 Certificate of
Innocence proceedings), Langston stated he did not testify truthfully at the 1986 death penalty hearing
because of threats from the El Rukns. (SOF, ¶¶ 133-34; 146). In his most recent 2009 and 2013
testimony, Randy once again identified Fields as one of the perpetrators of the Smith/Hickman murders.
(Id.)



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       Plaintiff presumably will argue the affidavit of Gerald Morris creates a question of fact as

to whether O’Callaghan improperly coerced him to implicate Fields. According to the affidavit,

O’Callaghan asked Morris to come to the police station and look at some photos, and mentioned

Fields’ name. Morris claims in the affidavit he never saw Fields on the day of the murder or at

any other time. Yet, when Morris looked at the photographs, he picked out Fields, even though

he had never seen him before. The affidavit does not say O’Callaghan told Morris which

photograph to identify.    It was only after Morris selected the photograph of Fields that

O’Callaghan said Morris made the right choice and that Fields was the guy. (SOF, ¶141). Thus,

a close reading of the affidavit reveals O’Callaghan did not tell Morris which photograph to pick

before Morris selected the photograph of Fields. Even accepting the truth of the remarkable

coincidence recounted in the affidavit, which contradicts all of Morris’ prior trial testimony

regarding Fields’ involvement in the Smith/Hickman homicides (SOF, ¶¶ 93; 136), it falls short

of creating a triable issue of fact concerning the claim that O’Callaghan coerced Morris to

implicate Fields in the Smith/Hickman homicides.

       There is no evidence O’Callaghan suppressed or destroyed evidence that was exculpatory

to Fields, and no admissible, non-speculative evidence that he coerced witnesses or fabricated

evidence to falsely implicate Nathson Fields in the Smith/Hickman murders. O’Callaghan is

entitled to summary judgment on Plaintiff’s due process claim in count I.

       G.     Defendants Richardson and Casto Are Entitled to Summary Judgment on
              Plaintiff’s Due Process Claim

       The TAC asserts a due process claim against Defendants Richardson and Casto based in

part on their alleged suppression of exculpatory evidence. Plaintiff’s answers to interrogatories

include the generic contention that Richardson and Casto conducted numerous interviews and

deliberately withheld reports they had compiled pertaining to the Smith/Hickman murders.



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(Exhibit 56, ¶1a; Exhibit 57, ¶1a). Plaintiff has presented no evidence to support such a claim

against Richardson or Casto. Richardson and Casto were Gang Crimes Specialists and not

homicide detectives. Plaintiff does not allege Casto had any involvement in the initial 1984 CPD

investigation of the Smith/Hickman murders, and the evidence does not show otherwise. (SOF,

¶22). Richardson responded to the scene of the Smith/Hickman murders on April 28, 1984, in

response to a radio call, but he did not interview any potential witnesses at the scene. (SOF, ¶¶

11;23). There is no evidence linking Richardson or Casto to the Subject File Plaintiff claims was

withheld from him. (See Section III(A)(3), supra).

       Although Richardson and Casto assisted homicide detectives in the renewed 1985

Smith/Hickman investigation, there is no evidence either officer knew of or was personally

involved in the suppression of documentation from that investigation, exculpatory or otherwise.

Casto testified he had no knowledge that any materials were withheld from Fields (SOF, ¶156),

and Plaintiff has presented no evidence to the contrary. As to Richardson, Plaintiff alleges he

suppressed reports of exculpatory interviews of Randy Langston and Gerald Morris (See TAC,

¶15), but Plaintiff has failed to come forward with evidence to support that assertion.

       Plaintiff’s due process claim against Richardson and Casto alternatively alleges they

improperly coerced witnesses to identify Fields in interviews, photo arrays, and line-ups. There

is no testimony from any witness supporting that claim against Casto or Richardson. They both

were present at the line-ups on May 15, 1985, when witnesses Randy Langston, Eric Langston,

and Gerald Morris each identified Fields. (SOF, ¶58). Plaintiff does not allege any specific

“coercive and suggestive tactics” used by Richardson to influence the witnesses, and discovery

has yielded no evidence of such misconduct. Plaintiff testified Richardson was in the room with

him and O’Callaghan during the line-up and when the evidence technician took photographs.




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(SOF, ¶60). However, Plaintiff’s deposition testimony did not implicate Richardson in any

improper conduct during the line-up process.        As to Casto, Plaintiff contended he helped

O’Callaghan display Fields’ El Rukn tattoo to line-up witnesses (Exhibit 56, ¶1c), but there is no

evidence that incident took place. Moreover, Plaintiff acknowledged Casto was not even in the

room when the line-up was conducted. (SOF, ¶60).

       There is no other evidence Richardson or Casto “coerced” any of the witnesses. There is

no evidence of any misconduct concerning witness Randy Buckles, and specifically, no evidence

he was coerced by Richardson or Casto. There is no evidence Randy Langston or Gerald Morris

were coerced or ever claimed to have been coerced by Richardson or Casto. In sum, there is no

evidence of personal involvement on the part of Richardson or Casto in any improper coercion of

witnesses to implicate Fields in the Smith/Hickman homicides.         Richardson and Casto are

entitled to summary judgment on Plaintiff’s due process claim in count I.

       H.      Defendants Kobel and Robertson Are Entitled to Summary Judgment on
               Plaintiff’s Due Process Claim

       The TAC lacks any specific allegation of misconduct against Defendants Kobel or

Robertson, vaguely alleging “on information and belief” they suppressed exculpatory evidence

and/or fabricated evidence linking Plaintiff to the Smith/Hickman murders.          Plaintiff has

presented no evidence supporting these vague allegations.

       Plaintiff does not allege Kobel or Robertson had any involvement in the initial 1984 CPD

investigation of the Smith/Hickman murders, and the evidence does not show otherwise. There

is no evidence linking Kobel or Robertson to the Subject File. (See Section III(A)(3), supra).

There is no evidence to support a Brady claim against Kobel or Robertson arising from the

renewed Smith/Hickman investigation in 1985.        Kobel had no recollection of investigatory

responsibilities on the Smith/Hickman murders. (SOF, ¶68). While Robertson was present



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during an in-custody interview of Plaintiff on June 17, 1985, in which Plaintiff denied

involvement in the Smith/Hickman murders (SOF, ¶57), there is no allegation, nor can there be,

that Fields’ denials were wrongfully suppressed from him.           Fields was present and had

knowledge of what occurred during the interview. Sornberger v. City of Knoxville, 434 F.3d

1006, 1028-29 (7th Cir. 2006) (No viable Brady claim for failure to disclose circumstances of

confession, since suspect knew what occurred during questioning and police had no obligation

under Brady to tell her again what she already knew).

       In answers to contention interrogatories, Plaintiff contended Kobel and Robertson

compiled reports pertaining to witness interviews in the Smith/Hickman murder investigation

and suppressed those materials. (Exhibit 58, ¶1a; Exhibit 59, ¶1a). There is no evidence to

support Plaintiff’s speculation such materials existed, or that if they did exist, the information

contained therein would be exculpatory or impeaching. Plaintiff cannot base a Brady claim on

such speculation.

       Nor is there evidence to support the vague allegations Kobel and Robertson fabricated

evidence implicating Plaintiff in the Smith/Hickman murders. (TAC, ¶¶ 9o, 9p). Plaintiff did

not allege in his pleadings what evidence it was that Kobel and Robertson purportedly fabricated

against Fields. Plaintiff’s answers to contention interrogatories provided no clarification on this

vague allegation, and in fact, appear to have abandoned the fabrication claim against Kobel and

Robertson. (Exhibit 58, ¶¶1a, 1b; Exhibit 59, ¶¶1a, 1b). In any event, discovery has revealed no

evidence of such misconduct. Plaintiff does not allege, and the evidence does not show, any

misconduct by Robertson during the in-custody interview of Fields in June 1985. Kobel and

Robertson are entitled to summary judgment on Plaintiff’s due process claim in count I.

       I.      Plaintiff Has Failed to Present Sufficient Evidence to Establish a §1983
               Failure to Intervene Claim Against Any City Defendant



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       The TAC alleges in count II that defendant officers “stood by without intervening” in the

fabrication of evidence and the deliberate withholding of evidence exculpatory to Plaintiff.

(TAC, ¶94). To establish a claim for a defendant officer’s failure to intervene, a plaintiff must

prove (1) a constitutional violation occurred, (2) the defendant knew another officer was about to

commit that violation; and (3) the defendant had a realistic opportunity to prevent that violation

from occurring. Yang v. Hardin, 37 F.3d 282, 285 (7th Cir. 1994). Absent an underlying

constitutional violation, there can be no claim for failure to intervene. Harper v. Albert, 400

F.3d 1052, 1064 (7th Cir. 2005). To the extent this Court enters summary judgment based on

Plaintiff’s failure to establish a viable due process claim as a matter of law (Section III(A),

supra), there can be no derivative claim for failure to intervene, and the City Defendants are

likewise entitled to summary judgment on count II.

       As an alternative basis for summary judgment, there is no evidence establishing any

individual City Defendant suppressed exculpatory evidence or fabricated any evidence

implicating Fields in the Smith/Hickman murders. Accordingly, there can be no claim for failure

to intervene. Harper, 400 F.3d at 1064. There is insufficient evidence to establish any officer

suppressed or destroyed Brady material, so there can be no claim a defendant officer failed to

prevent that conduct.   There is insufficient evidence to show Fields was “framed” for the

Smith/Hickman murders, so the defendant officers cannot have failed to intervene in that non-

existent conduct. But even if Plaintiff can somehow establish evidence of wrongful suppression

of exculpatory information or fabrication of evidence, there is no evidence any City Defendant

knew another officer was about to commit such a due process violation, had a realistic

opportunity to intervene and prevent that violation from occurring, and then failed to do so. This




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Court should enter summary judgment in favor of the City Defendants on Plaintiff’s failure to

intervene claim in count II.

       J.      Plaintiff Has Failed to Present Sufficient Evidence to Establish a §1983
               Conspiracy Claim Against Any City Defendant

       The TAC alleges in count III that defendant officers conspired to deprive Plaintiff of his

due process rights. Absent an underlying constitutional violation, there can be no claim for a

§1983 conspiracy. “Conspiracy is not an independent basis of liability in §1983 actions.” Smith

v. Gomez, 550 F.3d 613, 617 (7th Cir. 2008). Where a plaintiff fails to prove an underlying

constitutional violation, any derivative conspiracy claim necessarily fails. Cefalu v. Village of

Elk Grove, 211 F.3d 416, 423 (7th Cir. 2000). To the extent this Court enters summary judgment

based on Plaintiff’s failure to establish a viable due process claim as a matter of law (see Section

(III)(A), supra), there can be no derivative §1983 claim for conspiracy, and the City Defendants

would be entitled to summary judgment on count III.

       As an alternative basis for summary judgment, Plaintiff has failed to present evidence any

City Defendant suppressed information that was exculpatory to Nathson Fields, or that any of

City Defendant framed him, so that any derivative conspiracy claim necessarily fails. Cefalu,

211 F.3d at 423. Moreover, a §1983 civil conspiracy claim requires Plaintiff to show an

agreement between the parties to deprive him of his constitutional rights. Reynolds v. Jamison,

488 F.3d 756, 764 (7th Cir. 2007). There is no evidence of an agreement between the City

Defendants, or between them and any other parties, to deprive Plaintiff of exculpatory materials,

or to frame him for the Smith/Hickman murders.                Plaintiff’s answers to contention

interrogatories appear to abandon any claim that any individual defendant officer entered into a

conspiracy to violate Plaintiff’s constitutional rights (see Exhibits 49 through 59), and those

responses have never been amended or supplemented. Plaintiff’s conspiracy claims are entirely



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speculative as against all defendants, and summary judgment should be entered in their favor on

count III of the TAC.6

        K.        Plaintiff Has Failed to Present Sufficient Evidence to Establish a §1983
                  Monell Claim Against the City

        The TAC includes a Monell7 claim against the City. The first step Plaintiff must take in

proving a Monell claim is to establish that he suffered a constitutional injury. Thompson v.

Boggs, 33 F.3d 847, 859 (7th Cir. 1994). Plaintiff then must show “deliberate action attributable

to the municipality itself is the ‘moving force’ behind the plaintiff’s deprivation of federal

rights.” Board of County Commissioners of Bryan County, Oklahoma v. Brown, 520 U.S. 397,

400 (1997) (hereafter “Bryan County”). Next, Plaintiff must establish the requisite degree of

culpability on the City’s part—namely, that the alleged municipal practices were carried out with

“deliberate indifference” to their known or obvious consequences. City of Canton v. Harris, 489

U.S. 378, 388 (1989). Finally, plaintiff must demonstrate a direct causal link between the

municipal policy and the constitutional injury. Bryan County, 520 U.S. at 404.

        The City cannot be liable for Plaintiff’s alleged constitutional injuries8 without evidence

of a deficient policy or practice. “A municipality may not be held liable under §1983 solely

because it employs a tortfeasor.” Bryan County, 520 U.S. at 403. The Supreme Court has

“consistently refused to hold municipalities liable under a theory of respondeat superior.” Id.

        6
           For these same reasons, the City Defendants are entitled to summary judgment on Plaintiff’s
state law conspiracy claim in count VI.
        7
            Monell v. New York City Dep’t. of Soc. Servs., 436 U.S. 658 (1978).
        8
          If Plaintiff does not prove that the individual defendants caused him to suffer a constitutional
injury, he cannot succeed against the City on his Monell claim. See Los Angeles v. Heller, 475 U.S. 796,
799 (1986) (if a plaintiff is unsuccessful in a claim against the individual defendants, he will no longer
have a claim against the municipality); Treece v. Hochstetler, 213 F.3d 360, 364 (7th Cir. 2000). To that
extent, and to the extent Plaintiff’s claims against the City are based upon principles of respondeat
superior or indemnification, the City joins the motions for summary judgment presented on behalf of the
individual officers.



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       A plaintiff seeking to hold a municipality liable under §1983 must show that his alleged

constitutional injury is attributable to the municipality itself in one of three ways. First, he may

prove that “an express policy . . . when enforced, cause[d] a constitutional deprivation.”

McTigue v. City of Chicago, 60 F. 3d 381, 382 (7th Cir. 1995). Second, he may prove that his

constitutional injury was caused by “a widespread practice that, although not authorized by

written law or express municipal policy, [was] so permanent and well settled as to constitute a

custom or usage with the force of law.” Id. Finally, he may prove that his constitutional injury

was caused by “the act of a person with final policymaking authority.” Id.

       Plaintiff first contends the CPD had a policy of withholding exculpatory information in

so-called “street files.” (TAC, ¶63). The City’s express policies refute this claim. Detective

Division Special Order 83-1, adopted in 1983, requires the maintenance and retention of working

files, investigative documents, and personal notes generated by homicide detectives during an

investigation. (SOF, ¶¶ 170-72). The Special Order expressly states it is the policy of the CPD

that detectives “preserve and record information and materials obtained in the course of the

investigation to assure not only that information and materials indicating the possible guilt of the

accused are preserved, but also that any information and materials that may tend to show his

possible innocence or aid in his defense is preserved.” (Id.) As such, the CPD policy in 1984-

85, contrary to Plaintiff’s allegations, was that all information obtained during a homicide

investigation, including materials helpful to the defense, were to be preserved. Assuming,

arguendo, the Subject File was not tendered and further, that material exculpatory information

was contained in that file, its non-production was contrary to the CPD’s express policy.

       Alternatively, Plaintiff may be basing his Monell claim on a “custom” -- i.e., a practice

that has “not been formally approved by an appropriate decision maker” but is “so widespread as




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to have the force of law.” Bryan County, 520 U.S. at 404. Custom can be established through

widespread, enduring practices that violate constitutional rights in a systematic manner. See

McNabola v. Chicago Transit Authority, 10 F.3d 501, 511 (7th Cir. 1993). “Isolated” acts

committed by non-policymaking officials do not amount to a “custom,” which “implies a

habitual practice of a course of action that characteristically is repeated under like

circumstances.” Sims v. Mulcahy, 902 F.2d 524, 542 (7th Cir. 1990) (quoting Jones v. City of

Chicago, 787 F.2d 200, 204 (7th Cir. 1986)), cert. denied, Sims v. Mulcahy, 498 U.S. 897 (1990).

         Plaintiff has not presented or disclosed any evidence there was a widespread practice at

the CPD of withholding exculpatory evidence after Special Order 83-1 was implemented in

1983. Discounting speculation, Plaintiff has presented no evidence of another case after Special

Order 83-1 was issued where it was established exculpatory material was withheld by CPD

detectives.    Plaintiff’s own expert concedes he is unaware of any other case since the

implementation of Special Order 83-1 in which it was established the CPD withheld Brady or

Giglio material from a suspect in a so-called “street file.” (SOF, ¶176). In other words, Plaintiff

has failed to present evidence of a practice that was so widespread as to have the force of law,

i.e., a custom. Proof of a pattern of misconduct requires multiple prior incidents before it can be

actionable under Monell; a single incident is insufficient. Connick v. Thompson, 131 S.Ct. 1350

(2011); Jenkins v. Bartlett, 487 F.3d 482, 492-93 (7th Cir. 2007) (four incidents in a five-year

span insufficient); Grieveson v. Anderson, 538 F.3d 763, 773 (7th Cir. 2008) (four alleged

instances did not point to a widespread practice). Plaintiff’s failure to prove an express policy or

a widespread practice of withholding exculpatory evidence is fatal to his “street files” Monell

claim.




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       The TAC also attempts to assert a Monell claim based on the City’s alleged policy and

practice of maliciously prosecuting gang members, and El Rukns in particular, regardless of their

actual guilt or innocence. (SOF, ¶ 179). Plaintiff has presented no evidence to establish such a

policy or practice existed. Plaintiff has disclosed no expert witness on the issue. The mere fact

Chicago police officers were assigned to the Justice Department’s OCDTF does not suggest the

existence of the policy or practice alleged by Plaintiff. There is no evidence to suggest the Task

Force maliciously prosecuted anyone, let alone Nathson Fields. Plaintiff thus lacks evidence

establishing the policy alleged. And even if Plaintiff could establish the existence of such a

policy, which he cannot, he has presented no evidence such policies were carried out by the City

with deliberate indifference to their known or obvious consequences, and no evidence

demonstrating a causal link between the alleged policy and his alleged constitutional injury. The

City is entitled to summary judgment on Plaintiff’s §1983 Monell claims.

       L.      Defendant Officers are Entitled to Summary Judgment on Plaintiff’s State
               Law Claim for Malicious Prosecution

       To state a claim for malicious prosecution under Illinois law, Plaintiff must prove (1) the

commencement or continuation of a prior criminal proceeding by the defendant against him; (2)

a termination “on the merits” of the prior proceeding in a manner indicative of his innocence; (3)

a lack of probable cause for the prior proceeding; (4) malice; and (5) damages that proximately

result to plaintiff from the alleged misconduct. Joiner v. Benton Community Bank, 82 Ill. 2d 40,

45, 411 N.E.2d 229 (1980). Because Plaintiff has failed to present evidence in support of several

of these required elements, summary judgment should be entered in favor of all City Defendants

on the malicious prosecution claim in count IV of the TAC.

       There is no evidence Defendants Bogdalek, Minogue, Evans, or Hood commenced or

continued criminal proceedings against Fields.      Their investigation of the Smith/Hickman



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murders in May-June 1984 went nowhere. Indeed, Fields was not a suspect and his name had

not even come up during their part of the investigation. (SOF, ¶24). According to Plaintiff,

Detective O’Callaghan swore out the criminal complaint accusing Fields of the Smith/Hickman

murders, and Joseph Murphy swore out the criminal complaint accusing Fields of the

Vaughn/White murders. (Exhibit 55, ¶1a; Exhibit 54, ¶1b). A malicious prosecution claim can

only be asserted where it is alleged that a police officer’s “participation in [the prosecution] was

so active and positive a character as to amount to advice and cooperation.” Bergstrom v.

McSweeney, 294 F.Supp.2d 961, 968 (N.D. Ill. 2003). See also Frye v. O’Neill, 166 Ill. App. 3d

963, 975, 520 N.E.2d 1233 (4th Dist. 1988) (Liability for malicious prosecution “extends to all

persons who played a significant role in causing the prosecution of the plaintiff”). The mere fact

that Bogdalek and Evans testified at Fields’ 1986 trial9 does not establish active “participation”

for purposes of a malicious prosecution claim. See, e.g., Adams v. Sussman & Hertzberg, Ltd.,

292 Ill. App. 3d 30, 44, 684 N.E.2d 935 (1st Dist. 1997) (citing Restatement (Second) of Torts

§655, comment c, at 414 (1977)) (“It is not enough that he appears as a witness * * * and thereby

aids in the prosecution of the charges which he knows to be groundless. His share in continuing

the prosecution must be active, as by insisting upon or urging further prosecution”). There is a

similar failure of proof that Casto, Richardson, Kobel, Robertson, Kolovitz, or Brannigan played

an active or significant role in the State’s prosecution of Fields.

        Even assuming, arguendo, any of the Defendants could be said to have “commenced” or

“continued” the criminal prosecution of Fields, they would still be entitled to summary

judgment, including O’Callaghan and Murphy. Plaintiff’s malicious prosecution claim fails due

to the existence of probable cause for Fields’ prosecution. Probable cause is an absolute bar to a

        9
           Bogdalek was called by defense counsel to testify in the defense case, and Evans was called by
the State in rebuttal. People v. Fields, 135 Ill. 2d at 35-37.



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claim for malicious prosecution. Swick v. Liautaud, 169 Ill. 2d 504, 512, 662 N.E.2d 1238

(1996). For purposes of an Illinois malicious prosecution claim, probable cause is a “state of

facts that would lead a person of ordinary caution and prudence to believe, or to entertain an

honest and strong suspicion, that the person arrested committed the offenses charged.” Johnson

v. Target Stores, Inc., 341 Ill. App. 3d 56, 72, 791 N.E.2d 1206 (1st Dist. 2003).

       Prior to the 1986 trial, there was sufficient evidence to support a police officer’s honest

and strong suspicion Fields was involved in the Smith/Hickman and Vaughn/White murders.

Anthony Sumner provided a significant amount of information to investigators and prosecutors

regarding El Rukn criminal activities, including the involvement of Fields and Hawkins in both

double murders. As to Smith/Hickman, Sumner never recanted his trial testimony that Fields

was involved.      (SOF, ¶120).      There was no reason to disbelieve Sumner regarding

Smith/Hickman, and Sumner was not the only witness linking Fields to those murders prior to

the 1986 trial. Eyewitnesses to the shootings included Randy Langston, Eric Langston, and

Gerald Morris, each of whom identified Fields as being involved. (SOF, ¶69). All of this

information supported a reasonable belief prior to the 1986 trial Fields was involved in the

Smith/Hickman homicides.

       As to Vaughn/White, Sumner did not admit until late 1991 and January 1992 that he

falsely implicated Fields in those murders. Sumner never told police before that time Fields was

not involved. Sumner had admitted he was present during those murders and implicated himself

in their commission. Everything else Sumner told police about the Vaughn/White murders

appeared to be accurate. The information provided by Sumner in 1985 was so convincing it

caused the State to drop charges against two other suspects previously charged in the

Vaughn/White murders. (SOF, ¶¶ 72-74). For purposes of probable cause, everything Sumner




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initially told investigators about the Vaughn/White murders, including that Fields was involved,

would have led a person of ordinary caution to believe, or entertain an honest and strong

suspicion, he was being truthful.

       By the time of the 2009 trial, even more evidence existed to support the officers’

probable cause to believe Fields was involved in the Smith/Hickman murders. Although Sumner

was deceased, Hawkins had become a cooperating witness, and provided testimony in a number

of settings, including federal trials, regarding his and Fields’ involvement in the Smith/Hickman

murders. By that time, other El Rukn cooperating witnesses, including Derrick Kees, Eugene

Hunter, Jackie Clay, and Tramell Davis, also implicated Fields in the Smith/Hickman murders.

(SOF, ¶128).    There was ample evidence supporting probable cause to believe Fields was

involved in the Smith/Hickman murders. This Court should enter summary judgment in favor of

the City Defendants on count IV of the TAC.

       M.      Defendant Officers are Entitled to Summary Judgment on Plaintiff’s
               Remaining State Law Claims

       Under Illinois law, three elements are necessary to state a claim for intentional infliction

of emotional distress (“IIED”):

               First, the conduct involved must be truly extreme and outrageous.
               Second, the actor must either intend that his conduct inflict severe
               emotional distress, or know that there is at least a high probability
               that his conduct would cause severe emotional distress. Third, the
               conduct must in fact cause severe emotional distress.

Feltmeier v. Feltmeier, 207 Ill.2d 263, 798 N.E.2d 75 (2003). To the extent Plaintiff has failed

to establish evidence of a due process claim, or that a City Defendant had personal involvement

in a willful violation of his constitutional rights, or that a City Defendant maliciously prosecuted

him, Plaintiff likewise has failed to present evidence of extreme or outrageous conduct sufficient

to support a claim for IIED. Cooney v. Casaday, 746 F. Supp. 2d 973, 977-78 (N.D. Ill. 2010)



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(Without evidence of misconduct on a defendant’s part, summary judgment is appropriate on an

IIED count that is based on the same conduct underlying plaintiff’s §1983 claim). To the extent

the City Defendants are entitled to summary judgment on counts I through IV of the TAC, they

also are entitled to summary judgment of the IIED claim in count V.

       Plaintiff’s state law conspiracy claim in count VI also fails.            Plaintiff merely

reincorporates previously asserted conspiracy allegations as the basis for count VI. (TAC, ¶

117). To the extent Plaintiff has failed to establish evidence of a §1983 conspiracy, he cannot

support a state law conspiracy claim. (See footnote 6, supra).

       As a final issue, the TAC asserts vicarious theories of recovery against the City in count

VII (respondeat superior) and count VIII (indemnity). Section 2-109 of the Tort Immunity Act

provides that a “local public entity is not liable for any injury resulting from an act or omission

of its employee where the employee is not liable.” (745 ILCS 10/2-109). To the extent summary

judgment is entered against Plaintiff in favor of a City Defendant on any claim in the TAC, the

City likewise would be entitled to summary judgment as there would be no remaining basis to

impose vicarious liability on the City pursuant to a derivative respondeat superior or

indemnification claim.

Dated: December 9, 2013                              Respectfully submitted,


                                               By: s/ Paul A. Michalik
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                               CERTIFICATE OF SERVICE

        I hereby certify that on December 9, 2013, I electronically filed the foregoing City of
Chicago Defendants’ Joint Memorandum of Law in Support of Their Motion for Summary
Judgment with the Clerk of the Court using the ECF system, which sent electronic notification
of the filing on the same day to:

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